                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

 FAMILY TRUST SERVICES LLC, et al.             )
                                               )
            Plaintiffs,                        )
                                               )         NO. 3:18-cv-00859
 v.                                            )         JUDGE RICHARDSON
                                               )
 JULIE COONE, et al.,                          )
                                               )
            Defendants.                        )


                                            ORDER

         Pending before the Court is a Report and Recommendation of the Magistrate Judge (Docket

No. 27), to which no Objections have been filed. The Court has reviewed the Report and

Recommendation and the file. The Report and Recommendation is adopted and approved.

         Accordingly, for the reasons stated in the Report and Recommendation, Plaintiffs’ Motion

to Remand (Doc. No. 12) is GRANTED, and this action is remanded to the Davidson County

Chancery Court. All other pending Motions are DENIED as moot. The Clerk is directed to close

the file.

         IT IS SO ORDERED.

                                                     ___________________________________
                                                     ELI RICHARDSON
                                                     UNITED STATES DISTRICT JUDGE




      Case 3:18-cv-00859 Document 28 Filed 04/01/19 Page 1 of 1 PageID #: 1394
